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 Fill in this information to identify the case:
 Debtor name R. Investments, RLLP
 United States Bankruptcy Court for the: DISTRICT OF COLORADO                                                                                         Check if this is an

 Case number (if known):                21-11011                                                                                                      amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Citizens Deposit                                                Guaranty               Contingent                                                                    $1,582,076.22
 Bank
 3425 Valley Plaza
 Parkway
 Fort Wright, KY
 41017
 Citizens Deposit                                                Guaranty               Contingent                                                                    $1,089,381.12
 Bank
 3425 Valley Plaza
 Parkway
 Fort Wright, KY
 41017
 Cragar Marketing                                                Promissory Note        Disputed                                                                        $981,726.03
 Services 401K Plan
 2231 East
 Camelback Road,
 Suite 215
 Phoenix, AZ 85016
 Deb Grass and John                                              Promissory Note                                                                                        $606,500.00
 Kruse
 7995 Swaps Trail
 Evergreen, CO
 80439
 Edward Traurig                                                  Promissory Note                                                                                        $650,850.00
 63 Twin Oaks Circle
 SE
 Smyrna, GA 30080
 GL Enterprises LLC                                              Promissory Note        Disputed                                                                      $1,549,369.95
 8860 South
 Duquesne Court
 Aurora, CO 80016
 J.D. Ryan                                                       Promissory Note                                                                                      $3,144,034.00
 Investments, LLC
 3220 West 62nd
 Avenue
 Denver, CO 80222



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 Debtor    R. Investments, RLLP                                                                               Case number (if known)         21-11011
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 James M.                                                        Promissory Note        Disputed                                                                      $2,800,000.00
 Hay-Arthur
 14880 Zuni Street
 Broomfield, CO
 80023
 Margaret May                                                    Promissory Note                                                                                        $694,865.00
 10834 Irving Court
 Westminster, CO
 80031
 Myles and Katy                                                  Promissory Note                                                                                        $951,839.47
 Fitzgerald
 1117 Calle Largo
 Santa Fe, NM 87501
 Nancy and Hugh                                                  Promissory Note                                                                                      $1,883,808.22
 McCullouh
 375 St. Paul Street
 Denver, CO 80206
 Northview                                                       Promissory Note                                                                                      $2,208,303.56
 Investments, LLC
 2831 Umatilla Street
 Denver, CO 80211
 RARO, LLC                                                       Promissory Note        Disputed                                                                        $823,789.83
 8860 South
 Duquesne Court
 Aurora, CO 80016
 RARO, LLC                                                       Promissory Note        Disputed                                                                        $809,174.57
 8860 South
 Duquesne Court
 Aurora, CO 80016
 RARO, LLC                                                       Promissory Note        Disputed                                                                        $780,808.72
 8860 South
 Duquesne Court
 Aurora, CO 80016
 Renovatio Capital,                                              Promissory Note                                                                                        $670,323.51
 LLC
 28140 Alfred Moore
 Court
 Bonita Springs, FL
 34135
 Rhonda Higgins                                                  Promissory Note                                                                                        $602,191.88
 3340 West 62nd
 Avenue
 Denver, CO 80221
 Richard Paul and                                                Promissory Note                                                                                        $559,178.95
 Margaret May
 10834 Irving Court
 Westminster, CO
 80031
 Rolla Boys, LLC                                                 Judgment                                                                                               $782,740.97
 1101 West Mineral
 Avenue, Suite 101
 Littleton, CO 80120


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 Debtor    R. Investments, RLLP                                                                               Case number (if known)         21-11011
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Ryan Floyd                                                      Promissory Note                                                                                      $1,121,140.89
 13794 East Caley
 Drive
 Centennial, CO
 80111




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